


  PER CURIAM.
 

  We affirm the order denying return of the property. We note, however, that the legal proceeding that justified delay of the return of this property is now concluded. Thus, our affirmance is without prejudice to Mr. Stringer’s right now to seek return of the $884 that was seized from him during an arrest that resulted in a violation of probation, but did not result in any new conviction. The transcript of the hearing on the violation of probation contains evidence that $300 was wired to Mr. Stringer by his girlfriend prior to this arrest and that this money was intended to be used for a specific lawful purpose.
 

  Affirmed.
 

  ALTENBERND, WHATLEY, and SILBERMAN, JJ., Concur.
 
